






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






ON REHEARING







NO. 03-11-00206-CV






Texas Department of Public Safety; Steve McGraw, in his Official Capacity as Director of
the Texas Department of Public Safety Commission; and Allan B. Polunsky, in his Official
Capacity as Chairman of the Public Safety Commission, Appellants


v.


Miguel Salazar; Edgar Soria; Francisco Avila Trejo; Green Meadows Landscaping, Inc.;
Merida Flores; Nader Dalo; Godofredo A. Orellana; and Ruwaidha Liwaza, Appellees






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 345TH JUDICIAL DISTRICT

NO. D-1-GN-09-000273, HONORABLE ORLINDA NARANJO, JUDGE PRESIDING



						

D I S S E N T I N G   O P I N I O N

		

		Because I would request a response before ruling on appellees' emergency motion
for dismissal of this interlocutory appeal, I respectfully dissent.  See Tex. R. App. P. 10.3.  According
to appellees' motion, the deadlines in the underlying proceeding at issue are April 27, 2011, for a
hearing on dispositive motions, and the trial setting of May 9, 2011.  Given these dates, I would give
appellants an opportunity to respond before ruling on the merits of the motion.



					__________________________________________

					Melissa Goodwin, Justice

Before Chief Justice Jones, Justices Henson and Goodwin

Filed:   April 19, 2011


